                                        Case 4:17-cv-10982-TGB-RSW ECF No. 1 filed 03/28/17                  PageID.1    Page 1 of 7



                                                                    UNITED STATES DISTRICT COURT
                                                                    EASTERN DISTRICT OF MICHIGAN

                                         MICHAEL DOUKAKOS,

                                                Plaintiff,
                                                                                                     Case No.: 17-
                                         -vs-
                                                                                                     Hon.:
                                         BOWTECH INC. a
                                         foreign corporation, and
                                         LITTLE JONS ARCHERY WORLD, a
                                         foreign limited liability corporation,

                                               Defendants.
                                         _____________________________________________________________________/

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                                         JOEL B. SKLAR (P38338)
                                         THOMAS J. MACHASIC (P76548)
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                                         Attorneys for Plaintiff
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                                         _____________________________________________________________________/
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                                                             PLAINTIFF’S COMPLAINT AND JURY DEMAND


                                                NOW COMES Plaintiff, MICHAEL DOUKAKOS, by and through his attorneys, JOEL

                                         B. SKLAR and THOMAS J. MACHASIC, and for his Complaint against Defendant states as

                                         follows:

                                                                        JURISDICTION AND VENUE

                                            1. Plaintiff, MICHAEL DOUKAKOS, (hereinafter Doukakos), is a resident of Wayne

                                                County, Michigan.

                                            2. Defendant, BOWTECH CORPORATION, (hereinafter Bowtech), is a foreign

                                                corporation which, at all relevant times, was engaged in the business of selling,



                                                                                         1
                                        Case 4:17-cv-10982-TGB-RSW ECF No. 1 filed 03/28/17                PageID.2      Page 2 of 7



                                               distributing, and manufacturing the Bowtech Stryker 380 and was engaged in its business

                                               within Wayne County, Michigan.

                                            3. Defendant Bowtech was the manufacturer, marketer, and inspector of the Bowtech

                                               Stryker 380 purchased and used by Doukakos.

                                            4. Defendant LITTLE JONS ARCHERY, LLC (hereinafter Little Jons) ), is a foreign

                                               corporation which, at all relevant times, was engaged in the business of selling and

                                               distributing the Bowtech Stryker 380 and engages in this business in Wayne County,

                                               Michigan through its online website.

                                            5. The acts, events, and transactions which give rise to this action occurred in the Eastern

                                               District of Michigan, Michigan and Calhoun County, Michigan.
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                                            6. The jurisdiction of this court is based on the amount in controversy, which exceeds
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                                               Seventy-Five Thousand ($75,000.00) Dollars, exclusive of interest, costs, and attorney

                                               fees, and other matter is otherwise within the jurisdiction and venue of the Court.
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                                                           COUNT I – NEGLIGENCE BY DEFENDANT BOWTECH

                                            7. Plaintiff Doukakos incorporates by reference paragraphs 1 through 6.

                                            8. On or about October 14, 2015, Plaintiff Doukakos was injured in Calhoun County,

                                               Michigan, while properly using his Bowtech Stryker 380, causing severe and permanent

                                               injuries.

                                            9. At all relevant times, Defendant Bowtech, through its employees, agents, servants and/or

                                               representatives, owed a duty to Plaintiff and to the public in general to, among other

                                               things, properly prepare and manufacture its products and to properly test/inspect its

                                               products prior to being made available for sale or distribution to the public so that such




                                                                                         2
                                        Case 4:17-cv-10982-TGB-RSW ECF No. 1 filed 03/28/17                PageID.3      Page 3 of 7



                                               products would not cause injury or harm when properly used. Defendant Bowtech

                                               further owed those duties set forth in MCL 600.2945(h) and MCL 600.2947.

                                            10. Defendant Bowtech breached these duties by:

                                                   a. Failing to properly prepare or manufacture the Bowtech Stryker 380;

                                                   b. Failing to properly inspect and test its products;

                                                   c. Failing to train its employees to discover dangerous and malfunctioning parts and

                                                       materials during the manufacturing process.

                                                   d. Failing to take or adopt other measures to avoid the risk of harm posed to Plaintiff

                                                       by the malfunctioning bow.

                                                   e. Failing to warn Plaintiff and other users of latent defects with the product that
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                                                       Defendant knew or should have known of.
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                                            11. The bow was not reasonably safe at the time it left the control of Defendant Bowtech.

                                            12. At the time the bow left the control of Defendant Bowtech, a technically feasible
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                                               alternative production practice was available that would have prevented the harm without

                                               significantly impairing the usefulness or desirability of the product to users and without

                                               creating equal or greater risk of harm to others.

                                            13. These breaches of duty proximately caused the following damages to Plaintiff: Severe

                                               and permanent injuries to Plaintiff’s right hand and fingers including surgery to try and

                                               repair the injured hand and fingers.

                                            14. As a direct and proximate result of the negligence of Defendant Bowtech, Plaintiff

                                               Doukakos will suffer in the future the following damages: continued pain and suffering,

                                               further medical procedures, emotional distress, medical and other out of pocket costs,

                                               loss of the everyday enjoyments of life and other compensable injuries.



                                                                                         3
                                        Case 4:17-cv-10982-TGB-RSW ECF No. 1 filed 03/28/17                   PageID.4         Page 4 of 7



                                                PLAINTIFF REQUESTS that this Honorable Court enter judgment against Defendant

                                         Bowtech in an amount in excess of the jurisdictional limit of this Court and that will fairly and

                                         adequately compensate Plaintiff Doukakos for his injuries, together with the costs of this action,

                                         interest and attorney fees and all other relief to which Plaintiff may be entitled.

                                                        COUNT II – BREACH OF IMPLIED WARRANTY BY DEFENDANT

                                                                                     BOWTECH

                                            15. Plaintiff incorporates by reference paragraphs 1 through 14.

                                            16. The Bowtech Stryker 380 manufactured by Defendant Bowtech was not reasonably fit for

                                                the use or purpose anticipated or reasonably foreseen by Defendant Bowtech when it left

                                                Bowtech’s control.
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                                            17. As a proximate result of the breach of implied warranty by Defendant Bowtech, Plaintiff
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                                                Doukakos was injured as previously described.

                                                PLAINTIFF REQUESTS that this Honorable Court enter judgment against Defendant
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                                         Bowtech in an amount in excess of the jurisdictional limit of this Court and that will fairly and

                                         adequately compensate Plaintiff Doukakos for his injuries, together with the costs of this action,

                                         interest and attorney fees and any other relief to which Plaintiff may be entitled.

                                                       COUNT III – NEGLIGENCE BY DEFENDANT LITTLE JONS

                                            18. Plaintiff incorporates by reference paragraphs 1 through 17.

                                            19. At all relevant times, Defendant Little Jons owed a duty to Plaintiff and to the public in

                                                general to:

                                                    a. Properly sell its products;

                                                    b. Properly test and inspect its products;




                                                                                           4
                                        Case 4:17-cv-10982-TGB-RSW ECF No. 1 filed 03/28/17                  PageID.5      Page 5 of 7



                                                   c. To train its employees to discover dangerous and malfunctioning parts and

                                                       materials during selling and inventorying of products; and

                                                   d. To take or adopt other measures to avoid the risk of harm posed to Plaintiff by the

                                                       malfunctioning bow.

                                                   e. To warn Plaintiff and other users of latent defects with the product which

                                                       Defendant knew or should have known of.

                                            20. The product was not reasonably safe at the time it left the control of Defendant Little

                                               Jons.

                                            21. At the time the product left the control of Defendant seller, a technically feasible

                                               alternative production practice was available that would have prevented the harm without
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                                               significantly impairing the usefulness or desirability of the product to users and without
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                                               creating equal or greater risk of harm to others.

                                            22. Defendant seller breached some or all of the duties owed Plaintiff by:
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                                               a. failing to properly sell Bowtech products

                                               b. failing to properly test Bowtech products

                                               c. Failing to train its employees to discover dangerous and malfunctioning parts and

                                                   materials during the set up and sales process.

                                               d. Failing to take or adopt other measures to avoid the risk of harm posed to Plaintiff by

                                                   the malfunctioning bow.

                                               e. Failing to warn Plaintiff and other users of latent defects with the product that

                                                   Defendant knew or should have known of.




                                                                                          5
                                        Case 4:17-cv-10982-TGB-RSW ECF No. 1 filed 03/28/17                   PageID.6         Page 6 of 7



                                            23. These breaches of duty proximately caused the following damages to Plaintiff: Severe

                                                and permanent injuries to Plaintiff’s right hand and fingers including surgery to try and

                                                repair the injured hand and fingers However, the injuries have not subsided thus far.

                                            24. As a direct and proximate result of the negligence of Defendant Little Jons, Plaintiff

                                                Doukakos will suffer in the future the following damages: continued pain and suffering,

                                                further medical procedures, emotional distress, medical and other out of pocket costs,

                                                loss of the everyday enjoyments of life and other compensable injuries.

                                                PLAINTIFF REQUESTS that this Honorable Court enter judgment against Defendant

                                         Little Jons in an amount in excess of the jurisdictional limit of the Court and that will fairly and

                                         adequately compensate Plaintiff Doukakos for his injuries, together with the costs of this action,
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                                         interest and attorney fees and all other relief to which Plaintiff may be entitled.
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                                           COUNT IV – BREACH OF IMPLIED WARRANTY BY DEFENDANT LITTLE JONS

                                            25. Plaintiff incorporates by reference paragraphs 1 through 24.
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                                            26. The Bowtech Stryker 380 sold by Defendant Little Jons was not reasonably fit for the use

                                                or purpose anticipated or reasonably foreseen by Defendant Little Jons when it left Little

                                                Jons control.

                                            27. As a proximate result of the breach of implied warranty by Defendant Little Jons,

                                                Plaintiff Doukakos was injured as previously described.

                                                PLAINTIFF REQUESTS that this Honorable Court enter judgment against Defendant

                                            Little Jons in an amount in excess of the jurisdictional limit of the Court and that will fairly

                                            and adequately compensate Plaintiff Doukakos for his injuries, together with the costs of this

                                            action, interest and attorney fees and all other relief to which Plaintiff may be entitled.




                                                                                           6
                                        Case 4:17-cv-10982-TGB-RSW ECF No. 1 filed 03/28/17         PageID.7     Page 7 of 7



                                                                                       Respectfully submitted,



                                                                                       /s/ Joel B. Sklar__________
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                                                                                       THOMAS J. MACHASIC (P76548)
                                                                                       Attorneys for Plaintiff
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                                                                                       (313) 963-4529 / (313) 963-9310 (fax)
                                         Dated: March 28, 2017




                                                                          JURY DEMAND
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                                               Plaintiff hereby demands a trial by jury in this matter.
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                                                                                       Respectfully submitted,
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                                                                                       /s/ Joel B. Sklar__________
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                                         Dated: March 28, 2017




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